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                                                        #         APPEARANCE SHEET
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    UNITED STATES OF AM ERIPA
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    4.       Terry D alton                                                                                          9.
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